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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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12    Shamar Jackson,                         Case No.: 2:20-cv-06113-RSWL-GJSx
13                           Plaintiff,       Hon. Ronald S. W. Lew
14          v.                                ORDER FOR DISMISSAL WITH
                                              PREJUDICE
15    Naran Varu, an Individual; Rambhaben
      Varu, an Individual; and Does 1-10,
16                                            Action Filed: July 9, 2020
                              Defendants.     Trial Date: Not on Calendar
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                        [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-06113-RSWL-GJS Document 23 Filed 10/02/20 Page 2 of 2 Page ID #:73



 1          Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2    it, and being fully advised finds as follows:
 3          IT IS ORDERED THAT:
 4          Plaintiff Shamar Jackson’s (“Plaintiff”) action against Defendants Naran Varu and
 5    Rambhaben Varu (“Defendants”) is dismissed with prejudice. Each party will be
 6    responsible for their own fees and costs.
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      Dated: October 2, 2020                             /S/ RONALD S.W. LEW
12                                                      Hon. Ronald S. W. Lew
                                                        United States District Judge
13                                                      Central District of California
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                        [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
